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B 2100A (Form 2100A) (12/15)



                         UNITED STATES BANKRUPTCY COURT
                                               Southern District
                                            __________   DistrictofOf
                                                                   Mississippi
                                                                      __________

In re ________________________________,
      Brenda Garrett Reed                                                                         Case No. ________________
                                                                                                           20-01902




                    TRANSFER OF CLAIM OTHER THAN FOR SECURITY
A CLAIM HAS BEEN FILED IN THIS CASE or deemed filed under 11 U.S.C. § 1111(a). Transferee
hereby gives evidence and notice pursuant to Rule 3001(e)(2), Fed. R. Bankr. P., of the transfer, other
than for security, of the claim referenced in this evidence and notice.



 Jefferson Capital Systems LLC
______________________________________                                      ____________________________________
                                                                             Exeter Finance LLC
          Name of Transferee                                                           Name of Transferor

Name and Address where notices to transferee                                Court Claim # (if known):      2
should be sent:                                                             Amount of Claim:        20360.31
 Jefferson Capital Systems, LLC                                             Date Claim Filed:      07/23/2020
 PO Box 7999
 St. Cloud , MN 56302-9617
         888-836-6853
Phone: ______________________________                                       Phone: 817-277-2011
                                 6071
Last Four Digits of Acct #: ______________                                  Last Four Digits of Acct. #: __________
                                                                                                             6071

Name and Address where transferee payments
should be sent (if different from above):
 Jefferson Capital Systems, LLC
 PO Box 772813
 Chicago , IL 60677-2813
Phone: 888-836-6853
Last Four Digits of Acct #:                  6071



I declare under penalty of perjury that the information provided in this notice is true and correct to the
best of my knowledge and belief.

    /s/ Shannon Johnson (Bankruptcy Specialist)
By:__________________________________                                             12/3/2021
                                                                            Date:____________________________
        Transferee/Transferee’s Agent


Penalty for making a false statement: Fine of up to $500,000 or imprisonment for up to 5 years, or both. 18 U.S.C. §§ 152 & 3571.
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